  Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)      *          MDL 2592
PRODUCTS LIABILITY LITIGATION     *
                                  *          SECTION L
THIS DOCUMENT RELATES TO:         *
      ALL CASES                   *          JUDGE ELDON E. FALLON
                                  *
                                  *          MAG. JUDGE NORTH
                                  *
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                            EXHIBIT 2 TO
      PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
       FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                   FROM OTHER ANTICOAGULANTS




FILED UNDER SEAL
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 2 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 3 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 4 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 5 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 6 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 7 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 8 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 9 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 10 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 11 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 12 of 13
Case 2:14-md-02592-EEF-MBN Document 5399-6 Filed 02/10/17 Page 13 of 13
